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14
                            UNITED STATES DISTRICT COURT
15                         CENTRAL DISTRICT OF CALIFORNIA
16
     TELESIGN CORPORATION,                      Case No. 2:16-CV-02106-PSG-SS
17
                        Plaintiff,
18           vs.                                DEFENDANT’S ANSWER AND
                                                AFFIRMATIVE DEFENSES TO
19   TWILIO INC.,                               PLAINTIFF’S FIRST AMENDED
                                                COMPLAINT
20                      Defendant.
                                                JURY TRIAL DEMANDED
21
22
23           Defendant Twilio Inc. (“Twilio”) hereby files this Answer and Affirmative
24   Defenses to the First Amended Complaint filed by Plaintiff TeleSign Corporation
25   (“TeleSign”). Defendant denies the allegations and characterizations in Plaintiff’s
26   Complaint unless expressly admitted in the following paragraphs.
27
28
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 1                                                  Answer
 2                                     I. “Introduction and Parties”
 3           1.     Twilio is without knowledge or information sufficient to form a belief
 4   as to the truth of the allegations set forth in paragraph 1 of the First Amended
 5   Complaint (“FAC”), and on that basis denies each and every one of them.
 6           2.     Twilio is without knowledge or information sufficient to form a belief
 7   as to the truth of the allegations set forth in paragraph 2 of the FAC, and on that
 8   basis denies each and every one of them.
 9           3.     Twilio is without knowledge or information sufficient to form a belief
10   as to the truth of the allegations set forth in paragraph 3 of the FAC, and on that
11   basis denies each and every one of them.
12           4.     Denied.
13           5.     Admitted.
14           6.     Twilio admits it is valued at over $1 billion dollars. Twilio denies the
15   remaining allegations set forth in paragraph 6 of the FAC.
16           7.     Admitted.
17                                           II. “TeleSign I”
18           8.     Admitted.
19                                     III. “Jurisdiction and Venue”
20           9.     Admitted.
21           10.    Admitted.
22           11.    Denied.
23           12.    Admitted.
24           13.    Admitted.
25           14.    Admitted.
26           15.    Twilio denies all infringement allegations and that TeleSign has
27   suffered harm. Twilio is without knowledge or information sufficient to form a
28
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 1   belief as to the truth of the remaining allegations set forth in paragraph 15 of the
 2   FAC, and on that basis denies each and every one of them.
 3           16.    Admitted.
 4                                IV. “U.S. Patent No. 9,300,792”
 5           17.    Twilio admits that U.S. Patent No. 9,300,792 (the “’792 patent”) is
 6   titled “Registration, Verification, and Notification System.” Twilio admits that a
 7   purported copy of the ’792 patent is attached to the FAC as Exhibit 1. Twilio is
 8   without knowledge or information sufficient to form a belief as to the truth of the
 9   remaining allegations set forth in paragraph 17 of the FAC, and on that basis
10   denies each and every one of them.
11           18.    Twilio admits the ’792 patent issued from U.S. Patent Application
12   No. 14/678,815 (“the ’815 application”) and indicates an issue date of March 29,
13   2016. Twilio is without knowledge or information sufficient to form a belief as to
14   the truth of the remaining allegations set forth in paragraph 18 of the FAC, and on
15   that basis denies each and every one of them.
16           19.    Twilio admits the ’815 application published as No. 2015/0215889
17   (the “’899 publication”) and indicates a publication date of July 30, 2015. Twilio
18   admits that a purported copy of the ’899 publication is attached to the FAC as
19   Exhibit 2. Twilio is without knowledge or information sufficient to form a belief
20   as to the truth of the remaining allegations set forth in paragraph 19 of the FAC,
21   and on that basis denies each and every one of them.
22           20.    Twilio is without knowledge or information sufficient to form a belief
23   as to the truth of the allegations set forth in paragraph 20 of the FAC, and on that
24   basis denies each and every one of them.
25           21.    To the extent the allegation set forth in paragraph 21 of the FAC call
26   for a legal conclusion there is no response required. To the extent a response is
27   required, however, Twilio is without knowledge or information sufficient to form
28
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 1   a belief as to the truth of the allegations set forth in paragraph 21 of the FAC, and
 2   on that basis denies each and every one of them.
 3           22.    Denied.
 4           23.    Paragraph 23 of the FAC sets forth a statement to which no response
 5   is required.
 6           24.    Twilio admits it filed a motion on the pleadings under 35 U.S.C. §
 7   101 in TeleSign Corp. v Twilio, Inc., No. 15-03240-PSG (“TeleSign I”) and such
 8   motion was denied without prejudice pending claim construction. Twilio denies
 9   the remaining allegations set forth in paragraph 24 of the FAC.
10           25.    Denied.
11           26.    Twilio admits the Patent Office granted the ’792 patent after June 19,
12   2014. Twilio is without knowledge or information sufficient to form a belief as to
13   the truth of the remaining allegations set forth in paragraph 26 of the FAC because
14   the allegations are presented in such a way that Twilio does not understand the
15   meaning of “well after” as used by TeleSign, and on that basis denies each and
16   every one of them.
17           27.    Denied.
18           28.    Denied.
19           29.    Denied.
20           30.    Denied.
21           31.    Denied.
22           32.    Denied.
23           33.    Twilio denies that the ’792 patent describes a technical problem to a
24   technical solution. Twilio is without knowledge or information sufficient to form a
25   belief as to the truth of the remaining allegations set forth in paragraph 33 of the
26   FAC, and on that basis denies each and every one of them.
27           34.    Denied.
28           35.    Denied.
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 1           36.    Denied.
 2           37.    Denied.
 3                                   V. “The Asserted Claims”
 4           38.    Twilio admits the FAC asserts claims 1, 6, 9, 10, 15, and 18 of the
 5   ’792 patent.
 6                         VI. “TeleSign and Twilio are Competitors”
 7           39.    Twilio is without knowledge or information sufficient to form a belief
 8   as to the truth of the allegations set forth in paragraph 39 of the FAC because the
 9   allegations are presented in such a way that Twilio does not understand the
10   meaning of “similar” or “products and services” as used by TeleSign, and on that
11   basis denies each and every one of them.
12           40.    Twilio admits it offers services relating to two-factor authentication.
13   Twilio is without knowledge or information sufficient to form a belief as to the
14   truth of the remaining allegations set forth in paragraph 40 of the FAC, and on that
15   basis denies each and every one of them.
16           41.    Twilio admits it competes for customers. Twilio is without
17   knowledge or information sufficient to form a belief as to the truth of the
18   allegations set forth in paragraph 41 of the FAC because the allegations are
19   presented in such a way that Twilio does not understand the meaning of “directly
20   compete” as used by TeleSign, and on that basis denies each and every one of
21   them.
22           42.    Twilio admits it has a “Lookup” service. Twilio is without knowledge
23   or information sufficient to form a belief as to the truth of the remaining
24   allegations set forth in paragraph 42 of the FAC because the allegations are
25   presented in such a way that Twilio does not understand the meaning of
26   “increasing publicity” or “direct competition” or “phone verification services” as
27   used by TeleSign, and on that basis denies each and every one of them.
28
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 1           43.    Twilio is without knowledge or information sufficient to form a belief
 2   as to the truth of the allegations set forth in paragraph 43 of the FAC, and on that
 3   basis denies each and every one of them.
 4           44.    Twilio is without knowledge or information sufficient to form a belief
 5   as to the truth of the allegations set forth in paragraph 44 of the FAC, and on that
 6   basis denies each and every one of them.
 7           45.    Admitted..
 8           46.    Twilio is without knowledge or information sufficient to form a belief
 9   as to the truth of the allegations set forth in paragraph 46 of the FAC, and on that
10   basis denies each and every one of them.
11           47.    Twilio is without knowledge or information sufficient to form a belief
12   as to the truth of the allegations set forth in paragraph 47 of the FAC, and on that
13   basis denies each and every one of them.
14           48.    Denied.
15           49.    Twilio is without knowledge or information sufficient to form a belief
16   as to the truth of the allegations set forth in paragraph 49 of the FAC, and on that
17   basis denies each and every one of them.
18           50.    Twilio is without knowledge or information sufficient to form a belief
19   as to the truth of the allegations set forth in paragraph 50 of the FAC, and on that
20   basis denies each and every one of them.
21           51.    Admitted.
22           52.    Twilio admits that in August 2015, TeleSign filed a motion for a
23   preliminary injunction with respect to the ’034 patent, which the Court denied.
24   (TeleSign I, ECF No. 78.) Twilio denies the remaining allegations set forth in
25   paragraph 52.
26         VII. “Twilio’s Prior Knowledge of the ’792 Patents and Its Claims”
27
28
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 1           53.    Twilio denies it received actual notice of the ’792 patent by March
 2   29, 2016. Twilio admits the remaining allegations set forth in paragraph 52 of the
 3   FAC.
 4           54.    Admitted.
 5           55.    Admitted.
 6           56.    Twilio admits it was served with a complaint on April 30, 2015 that
 7   attached purported true and correct copies of the ’920, ’038, and ’034 patents.
 8   Twilio is without knowledge or information sufficient to form a belief as to the
 9   truth of the remaining allegations set forth in paragraph 50 of the FAC, and on that
10   basis denies each and every one of them.
11           57.    Denied.
12           58.    Twilio admits TeleSign attached a purported copy of the pending and
13   published claims as of February 22, 2016 as exhibits in TeleSign I. Twilio admits
14   Exhibit 4 to the FAC purports to be an Office Action response for the ’815
15   application, dated 2 October 2015.
16           59.    Twilio is without knowledge or information sufficient to form a belief
17   as to the truth of the allegations set forth in paragraph 59 of the FAC, and on that
18   basis denies each and every one of them.
19           60.    Twilio admits Exhibit 6 of the FAC purportedly is a notice of
20   publication of application no. 14/678,815. Twilio is without knowledge or
21   information sufficient to form a belief as to the truth of the remaining allegations
22   set forth in paragraph 60 of the FAC, and on that basis denies each and every one
23   of them.
24           61.    Twilio is without knowledge or information sufficient to form a belief
25   as to the truth of the allegations set forth in paragraph 61 of the FAC, and on that
26   basis denies each and every one of them.
27           62.    Denied.
28
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 1           63.    To the extent the allegations set forth in paragraph 63 call for a legal
 2   conclusion there is no response required. To the extent a response is required,
 3   however, Twilio is without knowledge or information sufficient to form a belief as
 4   to the truth of the allegations set forth in paragraph 63 of the FAC, and on that
 5   basis denies each and every one of them.
 6           64.    Denied.
 7           65.    Denied.
 8           66.    Denied.
 9                           VIII. “COUNT I – Direct Infringement”
10           67.    All of the responses to the proceeding paragraphs are incorporated by
11   reference herein.
12           68.    Twilio admits that TeleSign purports to have alleged infringement
13   against Twilio. Twilio denies infringement.
14           69.    Denied.
15           70.    Twilio denies infringement by Authy. Twilio admits Authy includes
16   computer-executable instructions. Twilio denies the remaining allegations set forth
17   in paragraph 70 of the FAC.
18           71.    Denied.
19           72.    Twilio denies infringement of Twilio’s Account Protection. Twilio
20   admits certain Twilio services include computer-executable instructions. Twilio is
21   without knowledge or information sufficient to form a belief as to the truth of the
22   remaining allegations set forth in paragraph 72 of the FAC, and on that basis
23   denies each and every one of them because Twilio does not know what “Twilio
24   Account Protection” includes as that is not one of Twilio’s products.
25           73.    Denied.
26           74.    Denied.
27           75.    Denied.
28           76.    Denied.
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 1                                           VIII(A). “Authy”
 2           77.    Twilio admits Authy may be available on the Internet. Twilio admits
 3   that its website states “is trusted by over 10,000 websites and mobile apps” and
 4   admits the included screenshot in paragraph 77 of the FAC appears to be from
 5   Twilio’s website. Twilio is without knowledge or information sufficient to form a
 6   belief as to the truth of the remaining allegations set forth in paragraph 77 of the
 7   FAC, and on that basis denies each and every one.
 8           78.    Twilio admits the quote stated in paragraph 78 was made to the SEC.
 9   Twilio is without knowledge or information sufficient to form a belief as to the
10   truth of the remaining allegations set forth in paragraph 77 of the FAC, and on that
11   basis denies each and every one.
12           79.    Twilio is without knowledge or information sufficient to form a belief
13   as to the truth of the allegations set forth in paragraph 79 of the FAC, and on that
14   basis denies each and every one of them.
15           80.    Admitted.
16           81.    Twilio admits Authy provides an online security solution that uses
17   two-factor authentication. Twilio is without knowledge or information sufficient to
18   form a belief as to the truth of the remaining allegations set forth in paragraph 81
19   of the FAC, and on that basis denies each and every one of them.
20           82.    Twilio is without knowledge or information sufficient to form a belief
21   as to the truth of the allegations set forth in paragraph 82 of the FAC, and on that
22   basis denies each and every one of them.
23           83.    Twilio admits that Authy includes executable instructions. Twilio is
24   without knowledge or information sufficient to form a belief as to the truth of the
25   remaining allegations set forth in paragraph 83 of the FAC, and on that basis
26   denies each and every one of them.
27           84.    Twilio admits Authy may receive information from a user. To the
28   extent the remaining allegations set forth in paragraph 84 of the FAC call for a
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  1   legal conclusion given the recited claim language (or language similar to that of
  2   the asserted claims) and lack of claim construction, there is no response required.
  3   To the extent a response is required, however, Twilio is without knowledge or
  4   information sufficient to form a belief as to the truth of the remaining allegations
  5   set forth in paragraph 84 of the FAC, and on that basis denies each and every one
  6   of them.
  7           85.    Twilio admits that Authy may be used when a user attempts to access
  8   a service. Twilio is without knowledge or information sufficient to form a belief as
  9   to the truth of the remaining allegations set forth in paragraph 85 of the FAC, and
 10   on that basis denies each and every one of them.
 11           86.    Twilio admits Authy may send a message to a user’s telephone. To
 12   the extent the remaining allegations set forth in paragraph 86 of the FAC call for a
 13   legal conclusion given the recited claim language (or language similar to that of
 14   the asserted claims) and lack of claim construction, there is no response required.
 15   To the extent a response is required, however, Twilio is without knowledge or
 16   information sufficient to form a belief as to the truth of the remaining allegations
 17   set forth in paragraph 86 of the FAC, and on that basis denies each and every one
 18   of them.
 19           87.    To the extent the allegations set forth in paragraph 87 of the FAC call
 20   for a legal conclusion given the recited claim language (or language similar to that
 21   of the asserted claims) and lack of claim construction, there is no response
 22   required. To the extent a response is required, however, Twilio is without
 23   knowledge or information sufficient to form a belief as to the truth of the
 24   allegations set forth in paragraph 87 of the FAC, and on that basis denies each and
 25   every one of them.
 26           88.    Twilio admits Authy may confirm whether a received code is the
 27   correct code. To the extent the allegations set forth in paragraph 88 of the FAC call
 28   for a legal conclusion given the recited claim language (or language similar to that
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  1   of the asserted claims) and lack of claim construction, there is no response
  2   required. To the extent a response is required, however, Twilio is without
  3   knowledge or information sufficient to form a belief as to the truth of the
  4   allegations set forth in paragraph 88 of the FAC, and on that basis denies each and
  5   every one of them.
  6           89.    To the extent the allegations set forth in paragraph 89 of the FAC call
  7   for a legal conclusion given the recited claim language (or language similar to that
  8   of the asserted claims) and lack of claim construction, there is no response
  9   required. To the extent a response is required, however, Twilio is without
 10   knowledge or information sufficient to form a belief as to the truth of the
 11   allegations set forth in paragraph 89 of the FAC, and on that basis denies each and
 12   every one of them.
 13           90.    Twilio admits that Authy may allow for text messages to be sent to
 14   users. Twilio admits that Authy may receive responses. To the extent the
 15   remaining allegations set forth in paragraph 90 of the FAC call for a legal
 16   conclusion given the recited claim language (or language similar to that of the
 17   asserted claims) and lack of claim construction, there is no response required. To
 18   the extent a response is required, however, Twilio is without knowledge or
 19   information sufficient to form a belief as to the truth of the allegations set forth in
 20   paragraph 90 of the FAC, and on that basis denies each and every one of them.
 21           91.    Twilio admits Authy may allow for messages to be sent on different
 22   types of devices. To the extent the allegations set forth in paragraph 91 of the FAC
 23   call for a legal conclusion given the recited claim language (or language similar to
 24   that of the asserted claims) and lack of claim construction there is no response
 25   required. To the extent a response is required, however, Twilio is without
 26   knowledge or information sufficient to form a belief as to the truth of the
 27   allegations set forth in paragraph 91 of the FAC, and on that basis denies each and
 28   every one of them.
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  1           92.    To the extent the allegations set forth in paragraph 92 of the FAC call
  2   for a legal conclusion given the recited claim language (or language similar to that
  3   of the asserted claims) and lack of claim construction there is no response
  4   required. To the extent a response is required, however, Twilio is without
  5   knowledge or information sufficient to form a belief as to the truth of the
  6   allegations set forth in paragraph 92 of the FAC, and on that basis denies each and
  7   every one of them.
  8                             VIII(B). “Twilio Account Protection”
  9           93.    Twilio denies infringement of the ’792 patent. Twilio admits it uses
 10   software that may perform two-factor authentication. Twilio is without knowledge
 11   or information sufficient to form a belief as to the truth of the remaining
 12   allegations set forth in paragraph 93 of the FAC, and on that basis denies each and
 13   every one of them.
 14           94.    Twilio denies infringement of the ’792 patent. Twilio admits it has
 15   software that may allow for two-factor authentication. Twilio admits that it has
 16   code to control access to Twilio’s products and services. Twilio admits its
 17   software uses computer-executable instructions to perform tasks. Twilio is without
 18   knowledge or information sufficient to form a belief as to the truth of the
 19   remaining allegations set forth in paragraph 94 of the FAC, and on that basis
 20   denies each and every one of them.
 21           95.    Denied.
 22           96.    Twilio admits Twilio may receive information from users. Twilio is
 23   without knowledge or information sufficient to form a belief as to the truth of the
 24   remaining allegations set forth in paragraph 96 of the FAC, and on that basis
 25   denies each and every one of them.
 26           97.    Twilio admits the screenshot depicted in paragraph 97 of the FAC is
 27   from Twilio’s registration page. Twilio is without knowledge or information
 28
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  1   sufficient to form a belief as to the truth of the remaining allegations set forth in
  2   paragraph 96 of the FAC, and on that basis denies each and every one of them.
  3           98.    Twilio admits that its software may allow for text messages to be sent
  4   to users. Twilio is without knowledge or information sufficient to form a belief as
  5   to the truth of the remaining allegations set forth in paragraph 98 of the FAC, and
  6   on that basis denies each and every one of them.
  7           99.    Admitted.
  8           100. Twilio admits the screenshot depicted in paragraph 100 of the FAC is
  9   from Twilio’s registration page. Twilio is without knowledge or information
 10   sufficient to form a belief as to the truth of the remaining allegations set forth in
 11   paragraph 100 of the FAC, and on that basis denies each and every one of them.
 12           101. To the extent the allegations set forth in paragraph 101 of the FAC
 13   call for a legal conclusion given the recited claim language (or language similar to
 14   that of the asserted claims) and lack of claim construction, there is no response
 15   required. To the extent a response is required, however, Twilio is without
 16   knowledge or information sufficient to form a belief as to the truth of the
 17   allegations set forth in paragraph 101 of the FAC, and on that basis denies each
 18   and every one of them.
 19           102. Twilio admits that Twilio may confirm whether a received code is the
 20   correct code. To the extent the allegations set forth in paragraph 102 of the FAC
 21   call for a legal conclusion given the recited claim language (or language similar to
 22   that of the asserted claims) and lack of claim construction there is no response
 23   required. To the extent a response is required, however, Twilio is without
 24   knowledge or information sufficient to form a belief as to the truth of the
 25   allegations set forth in paragraph 102 of the FAC, and on that basis denies each
 26   and every one of them.
 27           103. To the extent the allegations set forth in paragraph 103 of the FAC
 28   call for a legal conclusion given the recited claim language (or language similar to
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  1   that of the asserted claims) and lack of claim construction there is no response
  2   required. To the extent a response is required, however, Twilio is without
  3   knowledge or information sufficient to form a belief as to the truth of the
  4   remaining allegations set forth in paragraph 103 of the FAC, and on that basis
  5   denies each and every one of them.
  6           104. To the extent the allegations set forth in paragraph 104 of the FAC
  7   call for a legal conclusion given the recited claim language (or language similar to
  8   that of the asserted claims) and lack of claim construction there is no response
  9   required. To the extent a response is required, however, Twilio is without
 10   knowledge or information sufficient to form a belief as to the truth of the
 11   remaining allegations set forth in paragraph 104 of the FAC, and on that basis
 12   denies each and every one of them.
 13           105. Twilio admits Twilio may transmit messages to different types of
 14   devices. Twilio is without knowledge or information sufficient to form a belief as
 15   to the truth of the remaining allegations set forth in paragraph 105 of the FAC, and
 16   on that basis denies each and every one of them.
 17           106. To the extent the allegations set forth in paragraph 106 of the FAC
 18   call for a legal conclusion given the recited claim language (or language similar to
 19   that of the asserted claims) and lack of claim construction there is no response
 20   required. To the extent a response is required, however, Twilio is without
 21   knowledge or information sufficient to form a belief as to the truth of the
 22   remaining allegations set forth in paragraph 106 of the FAC, and on that basis
 23   denies each and every one of them.
 24                          IX. “COUNT II – Indirect Infringement”
 25           107. All of the responses to the proceeding paragraphs are incorporated by
 26   reference herein.
 27           108. Twilio admits Twilio’s S-1 form to the SEC cited in paragraph 108
 28   states: “Our Programmable Communications Cloud consists of software for voice,
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  1   messaging, video and authentication that empowers developers to build
  2   applications that can communicate with connected devices globally. We do not
  3   aim to provide complete business solutions, rather our Programmable
  4   Communications Cloud offers flexible building blocks that enable our customers
  5   to build what they need.” Twilio is without knowledge or information sufficient to
  6   form a belief as to the truth of the remaining allegations set forth in paragraph 108
  7   of the FAC, and on that basis denies each and every one of them.
  8           109. Twilio admits Twilio’s form to the SEC cited in paragraph 109 states:
  9   “Use Case APIs. While developers… in building their applications.” Twilio is
 10   without knowledge or information sufficient to form a belief as to the truth of the
 11   allegations set forth in paragraph 109 of the FAC, and on that basis denies each
 12   and every one of them.
 13           110. Denied.
 14           111. Denied.
 15           112. Denied.
 16           113. Denied.
 17           114. Denied.
 18                                  IX(A). “Twilio’s Knowledge”
 19           115. All of the responses to the proceeding paragraphs are incorporated by
 20   reference herein.
 21           116. Twilio admits a copy of the Original Complaint was served on March
 22   31, 2016. Twilio denies the remaining allegations set forth in paragraph 116 of the
 23   FAC.
 24           117. Denied.
 25           118. Denied.
 26                          IX(B). “Underlying Direct Infringement”
 27           119. Denied.
 28           120. Denied.
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  1           121. Denied.
  2                     “First Theory of Underlying Direct Infringement”
  3           122. Denied.
  4           123. Denied.
  5           124. To the extent the allegations set forth in paragraph 124 of the FAC
  6   call for a legal conclusion given the recited claim language (or language similar to
  7   that of the asserted claims) and lack of claim construction, there is no response
  8   required. To the extent a response is required, however, Twilio is without
  9   knowledge or information sufficient to form a belief as to the truth of the
 10   remaining allegations set forth in paragraph 124 of the FAC, and on that basis
 11   denies each and every one of them.
 12           125. To the extent the allegations set forth in paragraph 125 of the FAC
 13   call for a legal conclusion given the recited claim language (or language similar to
 14   that of the asserted claims) and lack of claim construction, there is no response
 15   required. To the extent a response is required, however, Twilio is without
 16   knowledge or information sufficient to form a belief as to the truth of the
 17   allegations set forth in paragraph 125 of the FAC, and on that basis denies each
 18   and every one of them.
 19           126. To the extent the allegations set forth in paragraph 126 of the FAC call
 20   for a legal conclusion given the recited claim language (or language similar to that
 21   of the asserted claims) and lack of claim construction, there is no response
 22   required. To the extent a response is required, however, Twilio is without
 23   knowledge or information sufficient to form a belief as to the truth of the
 24   allegations set forth in paragraph 126 of the FAC, and on that basis denies each
 25   and every one of them.
 26           127. To the extent the allegations set forth in paragraph 127 of the FAC call
 27   for a legal conclusion given the recited claim language (or language similar to that
 28   of the asserted claims) and lack of claim construction, there is no response
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  1   required. To the extent a response is required, however, Twilio is without
  2   knowledge or information sufficient to form a belief as to the truth of the
  3   allegations set forth in paragraph 127 of the FAC, and on that basis denies each
  4   and every one of them.
  5           128. To the extent the allegations set forth in paragraph 128 of the FAC call
  6   for a legal conclusion given the recited claim language (or language similar to that
  7   of the asserted claims) and lack of claim construction, there is no response
  8   required. To the extent a response is required, however, Twilio is without
  9   knowledge or information sufficient to form a belief as to the truth of the
 10   allegations set forth in paragraph 128 of the FAC, and on that basis denies each
 11   and every one of them.
 12                   “Second Theory of Underlying Direct Infringement”
 13           129. Denied.
 14           130. Twilio is without knowledge or information sufficient to form a belief
 15   as to the truth of the allegations set forth in paragraph 130 of the FAC, and on that
 16   basis denies each and every one of them.
 17           131. To the extent the allegations set forth in paragraph 131 of the FAC
 18   call for a legal conclusion given the recited claim language (or language similar to
 19   that of the asserted claims) and lack of claim construction, there is no response
 20   required. To the extent a response is required, however, Twilio is without
 21   knowledge or information sufficient to form a belief as to the truth of the
 22   remaining allegations set forth in paragraph 131 of the FAC, and on that basis
 23   denies each and every one of them.
 24           132. To the extent the allegations set forth in paragraph 132 of the FAC
 25   call for a legal conclusion given the recited claim language (or language similar to
 26   that of the asserted claims) and lack of claim construction, there is no response
 27   required. To the extent a response is required, however, Twilio is without
 28   knowledge or information sufficient to form a belief as to the truth of the
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  1   remaining allegations set forth in paragraph 132 of the FAC, and on that basis
  2   denies each and every one of them.
  3           133. To the extent the allegations set forth in paragraph 133 of the FAC
  4   call for a legal conclusion given the recited claim language (or language similar to
  5   that of the asserted claims) and lack of claim construction, there is no response
  6   required. To the extent a response is required, however, Twilio is without
  7   knowledge or information sufficient to form a belief as to the truth of the
  8   remaining allegations set forth in paragraph 133 of the FAC, and on that basis
  9   denies each and every one of them.
 10           134. To the extent the allegations set forth in paragraph 134 of the FAC
 11   call for a legal conclusion given the recited claim language (or language similar to
 12   that of the asserted claims) and lack of claim construction, there is no response
 13   required. To the extent a response is required, however, Twilio is without
 14   knowledge or information sufficient to form a belief as to the truth of the
 15   remaining allegations set forth in paragraph 134 of the FAC, and on that basis
 16   denies each and every one of them.
 17           135. To the extent the allegations set forth in paragraph 135 of the FAC
 18   call for a legal conclusion given the recited claim language (or language similar to
 19   that of the asserted claims) and lack of claim construction, there is no response
 20   required. To the extent a response is required, however, Twilio is without
 21   knowledge or information sufficient to form a belief as to the truth of the
 22   remaining allegations set forth in paragraph 135 of the FAC, and on that basis
 23   denies each and every one of them.
 24                    “Third Theory of Underlying Direct Infringement”
 25           136. Denied.
 26           137. Twilio is without knowledge or information sufficient to form a belief
 27   as to the truth of the allegations set forth in paragraph 137 of the FAC, and on that
 28   basis denies each and every one of them.
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  1           138. Twilio denies infringement of the ’792 patent. Twilio admits Authy
  2   may be used to send a text message, receive responses from users, and confirm
  3   whether the response entered by a user matches a code. Twilio is without
  4   knowledge or information sufficient to form a belief as to the truth of the
  5   remaining allegations set forth in paragraph 138 of the FAC, and on that basis
  6   denies each and every one of them.
  7           139. Twilio is without knowledge or information sufficient to form a belief
  8   as to the truth of the allegations set forth in paragraph 139 of the FAC, and on that
  9   basis denies each and every one of them.
 10           140. Twilio is without knowledge or information sufficient to form a belief
 11   as to the truth of the allegations set forth in paragraph 140 of the FAC, and on that
 12   basis denies each and every one of them.
 13           141. Twilio is without knowledge or information sufficient to form a belief
 14   as to the truth of the allegations set forth in paragraph 141 of the FAC, and on that
 15   basis denies each and every one of them.
 16           142. Twilio is without knowledge or information sufficient to form a belief
 17   as to the truth of the allegations set forth in paragraph 142 of the FAC, and on that
 18   basis denies each and every one of them.
 19           143. Denied.
 20           144. Denied.
 21           145. Twilio admits to having contracts with at least some of its customers.
 22   To the extent the allegation set forth in paragraph 145 of the FAC call for a legal
 23   conclusion, there is no response required. To the extent a response is required,
 24   however, Twilio is without knowledge or information sufficient to form a belief as
 25   to the truth of the allegations set forth in paragraph 145 of the FAC, and on that
 26   basis denies each and every one of them.
 27           146. Twilio admits it has a Twilio API Service Level Agreement. To the
 28   extent the remaining allegations set forth in paragraph 146 of the FAC call for a
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  1   legal conclusion, there is no response required. To the extent a response is
  2   required, however, Twilio is without knowledge or information sufficient to form
  3   a belief as to the truth of the remaining allegations set forth in paragraph 146 of the
  4   FAC, and on that basis denies each and every one of them.
  5           147. To the extent the first allegation set forth in paragraph 147 of the FAC
  6   call for a legal conclusion, there is no response required. Twilio admits the
  7   document attached to the FAC purporting to be an API Service Level Agreement
  8   states: “Twilio will use commercially reasonable efforts to make the Twilio API
  9   available 99.95% of the time. In the event Twilio does not meet the goal of
 10   99.95% API availability in a given calendar month (“Monthly Uptime
 11   Percentage”), you will be eligible to receive a Service Credit as described below.”
 12   Twilio is without knowledge or information sufficient to form a belief as to the
 13   truth of the remaining allegations set forth in paragraph 147 of the FAC, and on
 14   that basis denies each and every one of them.
 15           148. Twilio is without knowledge or information sufficient to form a belief
 16   as to the truth of the allegations set forth in paragraph 148 of the FAC, and on that
 17   basis denies each and every one of them.
 18           149. Denied.
 19           150. Twilio may require some customers to indemnify Twilio. To the
 20   extent the allegations set forth in paragraph 150 of the FAC call for a legal
 21   conclusion, there is no response required. To the extent a response is required,
 22   however, Twilio is without knowledge or information sufficient to form a belief as
 23   to the truth of the allegations set forth in paragraph 150 of the FAC, and on that
 24   basis denies each and every one of them.
 25           151. Twilio may require some customers to agree to the Twilio’s Service
 26   Level Agreement and Terms of Services. Twilio is without knowledge or
 27   information sufficient to form a belief as to the truth of the remaining allegations
 28
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  1   set forth in paragraph 151 of the FAC, and on that basis denies each and every one
  2   of them.
  3           152. Twilio is without knowledge or information sufficient to form a belief
  4   as to the truth of the allegations set forth in paragraph 152 of the FAC, and on that
  5   basis denies each and every one of them.
  6           153. Denied.
  7           154. Twilio may require some customers to indemnify Twilio. Twilio
  8   admits the Terms of Service includes an indemnification clause and admits said
  9   clause it included in paragraph 154 of the FAC. To the extent the remaining
 10   allegations set forth in paragraph 154 of the FAC call for a legal conclusion, there
 11   is no response required. To the extent a response is required, however, Twilio is
 12   without knowledge or information sufficient to form a belief as to the truth of the
 13   remaining allegations set forth in paragraph 154 of the FAC, and on that basis
 14   denies each and every one of them.
 15           155. Twilio admits it may transmit text messages. Twilio is without
 16   knowledge or information sufficient to form a belief as to the truth of the
 17   remaining allegations set forth in paragraph 155 of the FAC, and on that basis
 18   denies each and every one of them.
 19           156. Admitted.
 20                                     IX(C). “Specific Intent”
 21           157. All of the responses to the proceeding paragraphs are incorporated by
 22   reference herein.
 23           158. Denied.
 24           159. Denied.
 25           160. Denied.
 26           161. Denied.
 27           162. Denied.
 28           163. Denied.
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  1           164. Twilio admits https://www.twilio.com/use-cases is associated with
  2   Twilio and includes the following “use-cases”: “Two-Factor Authentication,”
  3   “Dispatch Notifications.” Twilio admits selecting “Two-Factor Authentications”
  4   currently directs a user to https://www.twilio.com/use-cases/two-factor-
  5   authentication. Twilio admits in the middle of the page it states “SMS,” “VOICE,”
  6   “SHORT CODES,” and “AUTHY.” Twilio admits below these words includes the
  7   following text: “Why Twilio” and “Easy to build and use,” which further states
  8   “Integrate second-factor authentication into any login or registration workflow in
  9   any programming language. Customize the user experience with your design and
 10   security requirements.” Twilio denies the remaining allegations set forth in
 11   paragraph 164 of the FAC.
 12           165. Twilio admits it markets to developers and IT support personal.
 13   Twilio is without knowledge or information sufficient to form a belief as to the
 14   truth of the allegations set forth in paragraph 165 of the FAC, and on that basis
 15   denies each and every one of them.
 16           166. Twilio is without knowledge or information sufficient to form a belief
 17   as to the truth of the allegations set forth in paragraph 166 of the FAC, and on that
 18   basis denies each and every one of them.
 19           167. Denied.
 20           168. Twilio is without knowledge or information sufficient to form a belief
 21   as to the truth of the allegations set forth in paragraph 168 of the FAC, and on that
 22   basis denies each and every one of them.
 23           169. Denied.
 24           170. Twilio admits to marketing its products. Twilio is without knowledge
 25   or information sufficient to form a belief as to the truth of the remaining
 26   allegations set forth in paragraph 170 of the FAC, and on that basis denies each
 27   and every one of them.
 28
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  1           171. Twilio is without knowledge or information sufficient to form a belief
  2   as to the truth of the allegations set forth in paragraph 171 of the FAC, and on that
  3   basis denies each and every one of them.
  4           172. Twilio denies all infringement allegations. To the extent the
  5   allegations set forth in paragraph 172 of the FAC call for a legal conclusion given
  6   the recited claim language (or language similar to that of the asserted claims) and
  7   lack of claim construction, there is no response required. To the extent a response
  8   is required, however, Twilio is without knowledge or information sufficient to
  9   form a belief as to the truth of the allegations set forth in paragraph 172 of the
 10   FAC, and on that basis denies each and every one of them.
 11           173. Twilio denies all infringement allegations. To the extent the
 12   allegations set forth in paragraph 173 of the FAC call for a legal conclusion given
 13   the recited claim language (or language similar to that of the asserted claims) and
 14   lack of claim construction, there is no response required. To the extent a response
 15   is required, however, Twilio is without knowledge or information sufficient to
 16   form a belief as to the truth of the allegations set forth in paragraph 173 of the
 17   FAC, and on that basis denies each and every one of them.
 18           174. Denied.
 19           175. Denied.
 20           176. Twilio admits users may obtain a free trial account in certain
 21   instances. Twilio is without knowledge or information sufficient to form a belief
 22   as to the truth of the remaining allegations set forth in paragraph 176 of the FAC,
 23   and on that basis denies each and every one of them.
 24           177. To the extent TeleSign alleges that Twilio advertises its products,
 25   Twilio admits it advertises its products. Twilio is without knowledge or
 26   information sufficient to form a belief as to the truth of the remaining allegations
 27   set forth in paragraph 177 of the FAC, and on that basis denies each and every one
 28   of them.
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  1           178. Denied.
  2           179. Twilio admits it has services that implement a REST API. Twilio is
  3   without knowledge or information sufficient to form a belief as to the truth of the
  4   remaining allegations set forth in paragraph 179 of the FAC, and on that basis
  5   denies each and every one of them.
  6           180. Twilio admits to marketing its products. Twilio is without knowledge
  7   or information sufficient to form a belief as to the truth of the remaining
  8   allegations set forth in paragraph 180 of the FAC, and on that basis denies each
  9   and every one of them.
 10           181. Twilio admits it provides a REST API. Twilio is without knowledge
 11   or information sufficient to form a belief as to the truth of the allegations set forth
 12   in paragraph 181 of the FAC, and on that basis denies each and every one of them.
 13           182. Twilio admits it provides a REST API. Twilio is without knowledge
 14   or information sufficient to form a belief as to the truth of the remaining
 15   allegations set forth in paragraph 182 of the FAC, and on that basis denies each
 16   and every one of them.
 17           183. Twilio admits it provides a REST API. Twilio is without knowledge
 18   or information sufficient to form a belief as to the truth of the remaining
 19   allegations set forth in paragraph 183 of the FAC, and on that basis denies each
 20   and every one of them.
 21           184. Denied.
 22           185. Denied.
 23           186. Denied.
 24           187. Denied.
 25           188. Denied.
 26           189. Twilio denies the allegation set forth in paragraph 189 of the FAC. In
 27   August 2015, TeleSign filed a motion for a preliminary injunction with respect to
 28   the ’034 patent, which the Court denied. (TeleSign I, ECF No. 78.)
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  1                                   X. “Willful Infringement”
  2           190. All of the responses to the proceeding paragraphs are incorporated by
  3   reference herein.
  4           191. Denied.
  5           192. Denied
  6           193. Denied.
  7           194. Denied.
  8           195. Denied.
  9           196. Twilio admits its motion for judgments on the pleadings was denied
 10   without prejudice pending claim construction. Twilio denies the remaining
 11   allegations set forth in paragraph 196 of the FAC.
 12           197. Denied.
 13           198. Twilio is without knowledge or information sufficient to form a belief
 14   as to the truth of the allegations set forth in paragraph 198 of the FAC, and on that
 15   basis denies each and every one of them.
 16                              XI. “TeleSign’s Prayer for Relief”
 17           199. Twilio denies that TeleSign is entitled to any relief requested in
 18   TeleSign’s Prayer for Relief, either as prayed or otherwise. To the extent that
 19   TeleSign’s Prayer for Relief may be deemed to allege any facts, Twilio denies
 20   each and every allegation.
 21                                       XII. Jury Trial Demanded
 22           200. Twilio requests a jury trial on all issues triable by jury.
 23                                           XIII. General Denial
 24           201. Twilio denies each allegation set forth in the FAC not expressly
 25   admitted herein.
 26                                  XIV. Affirmative Defensives
 27
 28
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  1           202. Twilio reserves the right to amend its Answer, including asserting
  2   additional defenses as discovery progresses. Without altering any applicable
  3   burden of proof, Twilio alleges the following affirmative defenses:
  4                              FIRST AFFIRMATIVE DEFENSE
  5                                    (NONINFRINGEMENT)
  6           204. Twilio has not infringed and does not infringe and has not induced
  7   others to infringe any valid claim of the ’792 patent. For example, for direct
  8   infringement, Twilio does not practice every element of every asserted claim. As
  9   another example, Twilio does not provide the required “notification event” as
 10   recited by the asserted claims of the ’792 patent. For induced infringement, Twilio
 11   does not induce others to practice the asserted claims. As another example, Twilio
 12   does not encourage its users to perform or provide the required “notification
 13   event” as recited by the asserted claims of the ’792 patent.
 14                            SECOND AFFIRMATIVE DEFENSE
 15                                           (INVALIDITY)
 16           205. One or more claims of the ’792 patent are invalid for failure to satisfy
 17   one or more of the conditions of patentability set forth in the Patent Act, 35 U.S.C.
 18   § 100, et seq., including, but not limited to, 35 U.S.C. §§ 101, 102, 103 and/or 112.
 19           206. For example, the claims of the ’792 patent are invalid under 35
 20   U.S.C. § 101 because each claim is directed to an unpatentable abstract idea of
 21   obtaining from a verified user an acknowledgement of an action associated with a
 22   specified event.
 23           207. As another example, the claims of the ’792 patent are rendered
 24   invalid under 35 U.S.C. § 102 and/or 103 by at least U.S. Patent No. 8,781,975
 25   (“Bennett”) and U.S. Patent Publication No. 2006/0020816 (“Campbell”).
 26                             THIRD AFFIRMATIVE DEFENSE
 27                                 (NO INJUNCTIVE RELIEF)
 28
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  1           208. TeleSign is not entitled to any form of injunctive relief because
  2   Twilio is not liable for infringement of a valid claim and because TeleSign has not
  3   suffered, and will not suffer, irreparable harm because of the Twilio conduct
  4   alleged in the FAC, TeleSign has an adequate remedy at law, and the balance of
  5   hardship and the public interest do not favor injunctive relief.
  6                            FOURTH AFFIRMATIVE DEFENSE
  7                              (LIMITATIONS ON DAMAGES)
  8           209. TeleSign is barred or limited in recovery in whole or in part by failing
  9   to meet the requirements of 35 U.S.C. §§ 286, 287, and/or 288.
 10                             FIFTH AFFIRMATIVE DEFENSE
 11                         (PROSECUTION HISTORY ESTOPPEL)
 12           210. TeleSign is barred or limited from recovery in whole or in part by the
 13   doctrine of prosecution history estoppel.
 14           211. For example, during the prosecution of the ’792 patent and its family
 15   members, TeleSign made claim amendments and arguments at least regarding the
 16   term “notification event” and as such is estopped from invoking the doctrine of
 17   equivalents to broaden the scope of its claims.
 18                             SIXTH AFFIRMATIVE DEFENSE
 19                                 (INEQUITABLE CONDUCT)
 20           212. The ’792 patent is unenforceable due to inequitable conduct in
 21   TeleSign’s procurement, the relevant facts and circumstances of which are set
 22   forth below.
 23           213.    The ’792 patent is unenforceable as a result of inequitable conduct by
 24   at least Stephen Bishop and Jesse J. Camacho who were involved in the
 25   preparation and prosecution of the ’792 patent and are registered to practice before
 26   the Patent Office (collectively, the “Applicants”).
 27           214. During the prosecution of the ’792 patent, each of the Applicants
 28   were subject to the duty of disclosure under 37 C.F.R. § 1.56.
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  1           215. Title 37 C.F.R. § 1.56 requires each individual associated with the
  2   filing and prosecution of a patent application has a duty of candor and good faith
  3   in dealing with the Office, which includes a duty to disclose to the Office all
  4   information known to that individual to be material to patentability as defined in
  5   this section. The duty to disclose information exists with respect to each pending
  6   claim until the claim is cancelled or withdrawn from consideration, or the
  7   application becomes abandoned.
  8           216. By way of introduction, and as pled in more detail below, Twilio
  9   alleges that the inequitable conduct comprised of intentional misrepresentations
 10   and/or omissions, including without limitation the following: misrepresentations
 11   by the Applicants to the Patent Office through omissions, the failure by Applicants
 12   to disclose one or more references during prosecution in breach of the duty of
 13   candor and good faith required by 37 C.F.R. § 1.56 with the intent to deceive the
 14   Examiner, and the failure by Applicants to disclose related litigation during
 15   prosecution in breach of the duty of candor and good faith required by 37 C.F.R. §
 16   1.56.
 17           217. The ’792 patent is in the same family as the asserted patents in
 18   TeleSign I. The ’034, ’920,’038 patents (the “TeleSign I patents”), and the asserted
 19   patent in this suit (the ’792 patent) each claim priority back to Patent Application
 20   No. 11/034,421. All four of the patents share a similar specification and relate to
 21   the same general subject matter.
 22           218. Any attack as to the validity and enforceability of a patent in the
 23   family, including the TeleSign I patents, are relevant to the validity and
 24   enforceability of its parents and children.
 25
 26     Applicants Withheld Material Information Relating to the ’920 Patent and
        ’038 Patent IPRs and Made Misrepresentations Through Omissions to the
 27                                  Patent Office
 28
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  1           219. Applicants were aware of relevant information by at least January 11,
  2   2016 when Twilio filed its Petition for Inter Partes Review of the ’920 and ’038
  3   patents.
  4           220. Twilio’s Petition for Inter Partes Review of the ’920 patent was filed
  5   with a supporting expert declaration that was not disclosed to the patent office.
  6   (See Inter Partes Review No. 2016-00450, No. 1002, Declaration of Dr. Michael
  7   Shamos.)
  8           221. Twilio’s Petition for Inter Partes Review of the ’038 patent was filed
  9   with a supporting expert declaration that was not disclosed to the patent office.
 10   (See Inter Partes Review No. 2016-00451, No. 1002, Declaration of Dr. Michael
 11   Shamos.)
 12           222. Both expert declarations contained relevant material to the validity
 13   and enforceability of the ’792 patent.
 14           223. For example, Dr. Shamos’s expert declarations provided evidence and
 15   expert evidence as to the invalidity of the ’920 and ’038 patents that were not
 16   previously entertained by the examiner.
 17           224. Dr. Shamos’s expert declarations addressed a new reference, U.S.
 18   Patent No. 8,781,975 (“Bennett”), that was previously unknown to the examiner of
 19   the ’792 patent.
 20           225. The Bennett reference is one of the primary references cited to in
 21   Twilio’s Petition for Inter Partes Review of the ’792 patent.
 22           226. Had the examiner been aware of the expert declarations submitted by
 23   Dr. Shamos in the ’920 and ’038 IPRs the examiner would have gained additional
 24   information regarding the invalidity of the asserted claims of ’792 patent.
 25           225. Dr. Shamos’s expert declarations addressed new and different prior
 26   art combinations that were not known to the examiner.
 27           226. For Example, Dr. Shamos provided evidence regarding the Bennett
 28   and Rolfe (U.S. Patent Publication No. 2003/0221125) combination that would
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  1   have been material to the examiner during prosecution of the asserted claims of the
  2   ’792 patent.
  3           227. Dr. Shamos’s expert declarations would have been material to the
  4   prosecution of the asserted claims of the ’792 patent because the expert
  5   declarations provide factual information as to why each asserted claims are
  6   rendered obvious by the Bennett and Rolfe combination.
  7           228. For example, Twilio’s Petition for Inter Partes Review of the ’038
  8   patent explains how the preamble of the ’038 patent is disclosed by the prior art
  9   and provides the following statement:
 10            Bennett discloses this process. (See Parts X.A.1-X.A. 14; Inter Partes
 11               Review No. 2016-00451, No. 1002, Declaration of Dr. Michael
 12               Shamos at ¶¶ 54-66.) (emphasis added.)
 13           229. Dr. Shamos’s expert declaration explains how the preamble of the
 14   ’038 patent is disclosed by Bennett (a reference previously unknown to the
 15   examiner) in 12 paragraphs.
 16           230. Dr. Shamos’s explanation as to why the preamble of the ’038 patent
 17   is disclosed by the Bennett reference would have been material to the examiner
 18   because preamble of the ’038 patent is nearly identical to the preamble of the ’792
 19   patent.
 20           ’038 preamble (Claim 1)                 ’792 preamble (Claim 1)
 21   A verification and notification process A verification and notification method
      implemented by a computing system, the implemented by a computing system, the
 22   process comprising:                     method comprising:
 23           231. As another example, Twilio’s Petition for Inter Partes Review of the
 24   ’038 patent addresses element 1[a] of the ’038 patent and provides the following
 25   statement:
 26        Bennett teaches that a user first interacts with the authentication system
 27           through a website. (Inter Partes Review No. 2016-00451, Ex. 1005 at 9:2-
 28
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  1           12, 10:34-44, FIG. 2; Inter Partes Review No. 2016-00451, No. 1002,
  2           Declaration of Dr. Michael Shamos at ¶¶ 67-76.) (emphasis added.)
  3           232. Dr. Shamos’s expert declaration explains how element 1[a] of the
  4   ’038 patent is disclosed by Bennett (a reference previously unknown to the
  5   examiner) in nine paragraphs.
  6           233. Dr. Shamos’s explanation as to why element 1[a] of the ’038 patent is
  7   disclosed by the Bennett reference would have been material to the examiner
  8   because element 1[a] of the ’038 patent is nearly identical to element 1[a] of the
  9   ’792 patent.
 10               ’038 (Claim 1[a])                         ’792 preamble (Claim 1[a])
 11   receiving, from a user, information            receiving, from a user, information via
      responsive to at least part of a form that     a computing interface presented to the
 12   is presented to the user on a website, the     user as a result of an attempt by the
 13   received information including an              user to access a service, the received
      electronic contact address associated          information including a telephone
 14   with the user                                  number associated with the user;
 15           234. As another example, Twilio’s Petition for Inter Partes Review of the
 16   ’038 patent addresses element 1[b] (and its sub elements) of the ’038 patent and
 17   provides the following statements:
 18            for element 1[b][i]: “Bennett discloses this step.” (Inter Partes Review
 19               No. 2016-00451, No. 1002, Declaration of Dr. Michael Shamos at ¶¶
 20               67-76.) (emphasis added.)
 21            for element 1[b][ii]: “Bennett discloses this step.” (Inter Partes Review
 22               No. 2016-00451, No. 1002, Declaration of Dr. Michael Shamos at ¶¶
 23               83-87.) (emphasis added.)
 24            for element 1[b][iii]: “Bennett discloses this step.” (Inter Partes Review
 25               No. 2016-00451, No. 1002, Declaration of Dr. Michael Shamos at ¶¶
 26               88-92.) (emphasis added.)
 27
 28
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  1            for element 1[b][iv]: “Bennett discloses this step.” (Inter Partes Review
  2               No. 2016-00451, No. 1002, Declaration of Dr. Michael Shamos at ¶¶
  3               93-96.) (emphasis added.)
  4           235. Dr. Shamos’s expert declaration explains how element 1[b] of the
  5   ’038 patent is disclosed by Bennett (a reference previously unknown to the
  6   examiner) in 19 paragraphs.
  7           236. Dr. Shamos’s testimony as to why element 1[b] of the ’038 patent is
  8   disclosed by the Bennett reference would have been material to the examiner
  9   because element 1[b] of the ’038 patent is nearly identical to element 1[b] of the
 10   ’792 patent.
 11               ’038 (Claim 1[b])                    ’792 preamble (Claim 1[b])
 12   verifying the received electronic contact verifying the telephone number by:
      address, wherein verifying the received
 13   electronic contact address includes:
 14
      establishing a first telephonic                 establishing a short message service
 15   connection with the user using the              (SMS) connection with the user using
 16   received electronic contact address;            the received telephone number;

 17   communicating a first communicated        communicating a verification code to
 18   verification code to the user through the the user through the SMS connection;
      first telephonic connection;
 19
 20   receiving a first submitted verification        receiving, via the computing interface, a
      code after it is entered by the user via        submitted verification code that is
 21   the website; and                                entered by the user; and
 22
      verifying the received electronic contact verifying the telephone number if the
 23   address if the first submitted verification submitted verification code is the same
 24   code is the same as the first               as the communicated verification code;
      communicated verification code;
 25
              237. As another example, Twilio’s Petition for Inter Partes Review of the
 26
      ’038 patent addresses the “notification event” element of the ’038 patent and
 27
      provides nine paragraphs of conclusory language with extensive citations to Dr.
 28
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  1   Shamos’s declaration that includes 25 paragraphs regarding the “notification
  2   event” element.
  3           238. Twilio’s Petition for Inter Partes Review of the ’920 patent is similar
  4   to Twilio’s Petition for Inter Partes Review of the ’038 in that it also relies on Dr.
  5   Shamos’s expert declaration for proving evidence as to why an element is
  6   disclosed or a combination obvious.
  7           239. Applicants withheld each of Dr. Shamos’s expert declarations from
  8   the Patent Office.
  9           240. In Applicants’ IDS form submitted on January 22, 2016, Applicants
 10   disclosed the IPR petitions, but not Dr. Shamos’s expert declarations. (Exhibit A,
 11   Applicant’s Jan. 22 IDS.)
 12           241. Each of the cited IPR petitions are roughly 60 pages and contain
 13   statements that cite extensively to Dr. Shamos’s expert declaration for support and
 14   further detail.
 15           242. Each of Dr. Shamos’s expert declaration are over 100 pages and
 16   contain the evidence supporting the contentions made in the IPR petition.
 17           243. As set forth above, Dr. Shamos’s expert declarations are “but-for
 18   material” because the Patent Office would not have allowed one or more claims of
 19   the ’792 patent had it been aware of the information contained in the expert
 20   declarations.
 21           244. In addition to withholding Dr. Shamos’s expert declarations from the
 22   Patent Office, Applicants also made misrepresentations to the Patent Office with
 23   the intent to deceive the Patent Office regarding Dr. Shamos’s expert declarations.
 24           245. For example, in Applicants’ January 22, 2016 letter to the Patent
 25   Office the Applicants state:
 26        Applicant notes that the grounds of rejection found in the IPRs rely on
 27           combinations of references U.S. Patent 8,781,975 to Bennett et al.
 28           (“Bennett”), U.S. Patent No. 8,302,175 to Thoursie et al. (“Thoursie”), U.S.
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  1           Patent Publication No. 2003/0221125 to Rolfe (“Rolfe”) (now U.S. Patent
  2           No. 7,383,572), and U.S. Patent No. 6,934,858 to Woodhill (“Woodhill”).
  3           Thoursie, Rolfe, and Woodhill were previously disclosed by Applicant
  4           in an Information Disclosure Statement Filed on July 17, 2015, and the
  5           present claims have already been found allowable over these references.
  6           As such, of the references relied upon in the IPRs, only Bennett has
  7           been newly-cited in the attached IDS. (emphasis added.)
  8           246. By making these statements, Applicants intended to deceive the
  9   Patent Office into not looking further into the Thoursie, Rolfe, and Woodhill
 10   references despite the IPRs relying on new and different combinations that were
 11   not known to the examiner.
 12           247. For example, Dr. Shamos’s expert declaration states the Bennett
 13   reference alone (a new reference to the examiner) renders the ’920 and ’038
 14   patents obvious.
 15           248. As yet another example, Dr. Shamos’s expert declaration states the
 16   Bennett + Thoursie combination (a new combination to the examiner) renders the
 17   ’920 and ’038 patents obvious.
 18           249. As yet another example, Dr. Shamos’s expert declaration states the
 19   Bennett + Rolfe combination (a new combination to the examiner) renders the
 20   ’920 and ’038 patents obvious.
 21           249. As yet another example, Dr. Shamos’s expert declaration states the
 22   Bennett + Thoursie + Rolfe combination (a new combination to the examiner)
 23   renders the ’920 and ’038 patents obvious.
 24           250. As yet another example, Dr. Shamos’s expert declaration states the
 25   Bennett + Woodhill combination (a new combination to the examiner) renders the
 26   ’920 patent obvious.
 27
 28
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  1           251. As yet another example, Dr. Shamos’s expert declaration states the
  2   Bennett + Thoursie +Woodhill combination (a new combination to the examiner)
  3   renders the ’920 patent obvious.
  4           252. None of the combinations disclosed in paragraphs 247-251 above
  5   were known to the examiner and Applicants knew that the examiner was not aware
  6   of the above combinations.
  7           253. The above withheld combinations are “but-for material” because the
  8   Patent Office would not have allowed one more claims of the ’792 patent had it
  9   been aware of Dr. Shamos’s expert declarations.
 10           254. Despite this knowledge, Applicants deceived the Patent Office by
 11   stating that “the present claims have already been found allowable over these
 12   references.”
 13           255. Applicants intentionally misled the examiner by steering the examiner
 14   away from (a) Dr. Shamos’s expert declarations and (2) the new prior art
 15   combinations.
 16           256. Applicants had strong motivations to deceive the Patent Office, as
 17   they were gearing up to file a second lawsuit against Twilio and wanted to obtain
 18   the ’792 patent as quickly as possible. For Example, Jesse J. Camacho (one of the
 19   Applicants) is lead counsel for the TeleSign I suit. Obtaining the ’792 patent was a
 20   means for filing a second suit against Twilio in an attempt to obtain more revenue.
 21           257. Applicants’ failure to disclose the expert reports constitutes a breach
 22   of the duty of candor and good faith required by 37 C.F.R. § 1.56—with the intent
 23   to deceive the Examiner.
 24           258. Applicants misrepresentation through omission constitutes a breach
 25   of the duty of candor and good faith required by 37 C.F.R. § 1.56—with the intent
 26   to deceive the Examiner.
 27                     Failure to Disclose Material Prior Art References
 28
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  1           259. Applicants were aware of relevant art by at least September 28, 2015
  2   when Twilio filed its Opposition to TeleSign’s Motion for Preliminary Injunction.
  3   (TeleSign I, ECF No. 55).
  4           260. In Twilio’s Opposition to TeleSign’s Motion for Preliminary
  5   Injunction, a heading states: “Twilio Raises a Substantial Question of Invalidity”
  6   which discloses the following prior art references: U.S. Patent No. 7,577,847
  7   (“Nguyen”), UK Patent Application 2362489 (“Chang”), U.S. Patent Publication
  8   No. 2004/0219904 (“De Petris”), U.S. Patent Publication No. 2004/0203595
  9   (“Singhal I”), and U.S. Patent Publication No. 2007/0042755 (“Singhal II”)
 10   (collectively, the “withheld references”).
 11           261. Twilio’s Opposition to TeleSign’s Motion for Preliminary Injunction
 12   included a supporting expert declaration with claim charts demonstrating how the
 13   references disclose limitations of claims of the ’034 patent.
 14           262. The ’034 patent is part of the same patent family of the ’792 patent.
 15           263. The ’034 and ’792 patents date priority back to the same parent
 16   application.
 17           264. The ’034 and ’792 patents relate to the same subject matter.
 18           265. The ’034 and ’792 patents share a similar specification.
 19           266. The Nguyen, Chang, De Petris, and Singhal references are material to
 20   the validity of at least one claim of the ’792 patent.
 21           267. The references that were withheld from the Patent Office by the
 22   Applicants are material to the validity of the ’792 patent because the examiner
 23   would have found the withheld references relevant to his or her review for
 24   patentability of the asserted claims of the ’792.
 25           268. The references that were withheld from the Patent Office by the
 26   Applicants are material to the validity of the ’792 patent because each of the
 27   withheld references both address similar problems and offer similar solutions and
 28   are generally directed to verification of a user.
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  1           269. For example, U.S. Patent No. 7,577,847 (“Nguyen”) is relevant to the
  2   validity of claims of the ’792 patent. Like the claims of the ’792 patent, Nguyen
  3   discloses a verification and notification method that receives a user’s telephone
  4   number, verifies the telephone number by submitting a code to the user, confirms
  5   the user has entered the correct code, completes registration based on the user
  6   submitting the correct code, and maintains records of such events. For example,
  7   Nguyen discloses:
  8            In this example, the player uses client device 110, logs into network
  9               device 145 via the Internet according to one of many login procedures
 10               known by those of skill in the art, then enters registration data (including
 11               name, age, address and a telephone number) into fields of a registration
 12               page provided by network device 145, e.g. via HTML. (Telesign I, ECF
 13               No. 55-11, 8:3-9.)
 14            Network device 145 then causes a telephone call to be placed to the
 15               player, e.g., via telephone network 150 to telephone 155 of FIG. 1 (step
 16               225). (Id. at 9:25-27.)
 17            In step 335, the verification server places a call to the telephone number
 18               indicated by the player. The verification server requires the player to
 19               enter a confirmation number (preferably a randomly generated number)
 20               into the keypad of the telephone. (Id. at 10:46-50.)
 21            In step 340, the data gathered during the telephone call (and voice
 22               biometric data, if any) are transmitted to the game server. The game
 23               server compares these data with data obtained during and/or as a result of
 24               the registration process (step 345). In step 350, the game server
 25               determines whether the player's requested gaming session is approved.
 26               (Id. at 11:24-29.)
 27
 28
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  1            If the requested gaming session is approved, the game server allows the
  2               requested gaming session to begin. If the requested gaming session is not
  3               approved, the process ends in this example (step 355). (Id. at 11:38-41.)
  4            See also id at figures 2 and 3.
  5           270. As yet another example, U.S. Application No. 2004/0203595
  6   (“Singhal I”) is also relevant. For example, Singhal I provides:
  7            Authentication system 10 is used to store a user's existing passwords;
  8               alternatively, the authentication system creates on demand a transient
  9               random pass code that is good for a limited duration. When the user has
 10               forgotten the password in a traditional system, alternatively, without the
 11               need to create or remember passwords, user can use transient pass codes.
 12               The user retrieves the password or the pass code via a cell telephone 800
 13               call to the authentication system, before logging on to the system.
 14           271. As yet another example, UK Patent Application 2362489 (“Chang”) is
 15   also relevant. For example, the Abstract of Chang provides:
 16            For example, the second telecommunications network may be a
 17               telephone network (e.g. a mobile telephone network), and the contact
 18               data may be the user's telephone number. The website contacts the user
 19               using the second telecommunications network to check the- identity of
 20               the user. for example, the website may send the user a validation code.
 21               This may be sent as part of a message to a mobile phone owned by the
 22               user. The user reads the validation code, and sends it to the website by
 23               internet (e.g. by entering it onto a webpage presented on the user's
 24               browser).
 25           272. As yet another example, U.S. Application No. 2007/0042755 (“Singhal
 26   II”) is also relevant. For example, the Abstract of Singhal II provides:
 27            This invention discloses a system of remote user authentication to an
 28               authentication server, with a telephone interface to the authentication
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  1               server that only receives routed call that have originated from a cell
  2               phone in a cellular network and a call handling logic function which
  3               routs only those call to the authentication server over the interface that
  4               have originated from a cell phone with a subscriber identity module
  5               (SIM) card and for which the cellular company maintains an individual
  6               subscriber identification data.
  7           273. As yet another example, U.S. Patent Publication No. 2004/0219904
  8   (“De Petris”) is also relevant. For example, the Abstract of De Petris provides:
  9            A security system with cross-checking for authenticating users on data
 10               communications networks comprises means for receiving from a service
 11               provider identification data of a user and of a point of access to a service;
 12               means for identifying the geographic location of the access point and a of
 13               mobile telephone number associated with the user; means for sending the
 14               mobile telephone number to a mobile telephone carrier; means for
 15               receiving from the telephone carrier data that identify the geographic
 16               location of a mobile telephone that corresponds to the sent mobile
 17               telephone number; computing means for generating a result of a
 18               comparison between the geographic location of the service access point
 19               and the geographic location of the mobile telephone and means for
 20               sending the result or data as a function of the result to the service
 21               provider or to the mobile telephone number.
 22           274. Despite being aware of the withheld references on September 28,
 23   2015, the Applicants failed to disclose the references during prosecution of the
 24   ’792 patent.
 25           275. Applicants disclosed none of the withheld references that were
 26   disclosed in Twilio’s September 28, 2015 opposition motion. (TeleSign I, ECF No.
 27   51.)
 28
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  1           276. Because of the Applicants’ failure to disclose the withheld references,
  2   Applicants received a notice of allowance for the ’792 patent on February 18,
  3   2016.
  4           277. The withheld prior art references are “but-for material” because the
  5   Patent Office would not have allowed one or more claims of the ’792 patent had it
  6   been aware of the withheld references.
  7           278. Applicants failed to disclose the withheld references to the Patent
  8   Office despite learning of these references at least by September 28, 2015.
  9           279. Applicants knew the withheld references were relevant to the
 10   Asserted Claims and knew the withheld references in combination or alone would
 11   have rendered the claims obvious.
 12           280. Applicants intended to deceive the Patent Office by systematically
 13   withholding or obfuscating the relevance of the known prior art.
 14           281. The Applicants had strong motivations to deceive the Patent Office,
 15   as they were gearing up to file a second lawsuit against Twilio.
 16           282. The Applicants failure to disclose the withheld references constitutes
 17   a breach of the duty of candor and good faith required by 37 C.F.R. § 1.56—with
 18   the intent to deceive the Examiner.
 19         Failure to Disclose Litigation Proceedings (The TeleSign I Litigation)
 20           283. Applicants failed to properly disclose the related TeleSign I litigation
 21   to the Patent Office.
 22           284. The related TeleSign I litigation, which concerns three related patents
 23   in the same patent family of the ’792 patent, is relevant to the validity and
 24   enforceability of the ’792 patent because the Patent Office needs to be apprised of
 25   the specific arguments challenging validity or enforceability.
 26           285. The Applicants were aware of a relevant 35 U.S.C. § 101 challenge
 27   by at least September 28, 2015 when Twilio filed its Opposition to TeleSign’s
 28   Motion for Preliminary Injunction. (TeleSign I, ECF No. 55).
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  1           286. In Twilio’s Opposition to TeleSign’s Motion for Preliminary
  2   Injunction, a heading states: “Claim 1 is invalid under Section 101” which raises
  3   substantial questions to validity under 35 U.S.C. § 101 of the ’034 patent.
  4           287. Twilio’s Opposition to TeleSign’s Motion for Preliminary Injunction
  5   included a supporting expert declaration demonstrating that the claims were not
  6   directed to a technological invention. (TeleSign I, ECF No. 55-2).
  7           288. The ’034 patent is part of the same patent family of the ’792 patent.
  8           289. The ’034 and ’792 patents date priority back to the same parent
  9   application.
 10           290. The ’034 and ’792 patents relate to the same subject matter.
 11           291. The ’034 and ’792 patents share a similar specification.
 12           292. The litigation activities of the ’034 patent are relevant to the ’792
 13   patent because both patents are related to two-factor authentication and are part of
 14   the same patent family.
 15           293. The 35 U.S.C. § 101 challenge to the ’034 patent is material to the
 16   validity and enforceability of the ’792 patent.
 17           294. The withheld 35 U.S.C. § 101 challenge to the ’034 patent is material
 18   because the examiner would have considered the withheld information important
 19   to patentability. For example, the 35 U.S.C. § 101 challenge to ’034 patent is
 20   material to the ’792 patent because the patents are related to the same family,
 21   contain similar specifications, and are both related to two-factor authentication
 22   technology.
 23           295. The challenge of patentability under 35 U.S.C. § 101 is material to the
 24   prosecution of the ’792 patent because the arguments made in Twilio’s motion
 25   would have affected the soundness and/or consistency of arguments made in favor
 26   of the patentability of the ’792 patent given the substantial similarities between the
 27   ’034 and ’792 patents.
 28
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  1           296. As stated above, the ’034, ’920, and ’038 patents are in the same
  2   family as the ’792 patent, relate to the same technical field, share substantial
  3   overlap in their disclosure, and are all generally related to two-factor
  4   authentication technology.
  5           297. Applicants knew the withheld material was relevant to the Asserted
  6   Claims and knew the withheld material would have rendered the claims invalid
  7   and unenforceable.
  8           298. The withheld section 101 challenge is “but-for material” because the
  9   Patent Office would not have allowed one or more claims of the ’792 patent had it
 10   been aware of Twilio’s motion when Applicants learned of the challenge prior to
 11   the examiner issuing a notice of allowance.
 12           299. Despite being aware of the section 101 challenge on September 28,
 13   2015, the Applicants failed to disclose this material during prosecution of the ’792
 14   patent.
 15           300. Applicants waited for almost four months after learning of the
 16   relevant 35 U.S.C. § 101 challenge and after the examiner had issued a notice of
 17   allowance of the ’792 patent to notify the examiner of the TeleSign I litigation, but
 18   still withheld Twilio’s September 28, 2015 section 101 challenge from the Patent
 19   Office.
 20           301. Obscuring         the      improper    delay,   Applicant   made     numerous
 21   misrepresentations and/or omissions in its letter. Applicants January letter states:
 22            “On January 5, 2016, however, Applicant was made aware of a challenge
 23               arising out of the litigation of the validity of the ’920 and ’038 patents on
 24               the basis of 35 U.S.C. § 101.” (Exhibit B, Applicant’s Jan. 22 letter to
 25               the PTO, at 1.)
 26           302. Applicants were not first made aware of the challenge arising out of §
 27   101 validity for the patent family on January 5, 2016. Applicants were instead
 28   made aware of the § 101 challenge on September 28, 2015 in Twilio’s Opposition
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  1   to TeleSign’s Preliminary Injunction and Twilio’s supporting expert declaration
  2   relating to the ’034 patent. (ECF No. 51 at 22 (“Raising a substantial question as to
  3   validity under 35 U.S.C. § 101…”); ECF No. 51-2 at 67 (“Claim 1 Is Not Directed
  4   to a Technological Invention”).)
  5           303. Applicants intended to deceive the Patent Office by systematically
  6   withholding or obfuscating the relevance of the known related litigation.
  7           304. The Applicants had strong motivations to deceive the Patent Office,
  8   as they were gearing up to file a second lawsuit against Twilio.
  9           305. The Applicants failure to disclose the withheld material constitutes a
 10   breach of the duty of candor and good faith required by 37 C.F.R. § 1.56—with
 11   the intent to deceive the Examiner.
 12                Failure to Disclose Litigation Proceedings (The ’034 IPR)
 13           306. Applicants failed to properly disclose the related ’034 IPR litigation
 14   to the Patent Office.
 15           307. The related ’034 IPR, which concerns a patent in the same patent
 16   family of the ’792 patent, is relevant to the validity and enforceability of the ’792
 17   patent because the Patent Office needs to be apprised of the specific arguments
 18   challenging validity or enforceability.
 19           308. The Applicants were aware of the relevant ’034 IPR by at least
 20   December 16, 2015 when Twilio filed its Petition for Inter Partes Review.
 21           309. In Twilio’s Petition for Inter Partes Review of the ’034 patent,
 22   multiple relevant references and invalidity grounds were raised.
 23           310. Twilio’s Petition for Inter Partes Review included a supporting
 24   expert declaration demonstrating that the claims were invalid.
 25           311. The validity challenge made in Twilio’s Petition for Inter Partes
 26   Review is material to the validity and enforceability of the ’792 patent.
 27
 28
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  1           312. Despite being aware of the Petition for Inter Partes Review of the
  2   ’034 patent on December 16, 2015, the Applicants failed to disclose this
  3   information during prosecution of the ’792.
  4           313. Applicants waited for over a month after learning of the ’034 IPR and
  5   after the examiner had issued a notice of allowance of the ’792 patent to notify the
  6   examiner of the some, but not all IPR litigation for the patent family.
  7           314. Obscuring         the      improper    delay,   Applicant   made     numerous
  8   misrepresentations and omissions in its letter. Applicants January letter states:
  9            “On January 11, 2016, Applicant was made aware of Petitions for Inter
 10               Partes Review, filed with the USPTO, of the ’920 and ’038 patents (“the
 11               IPRs”). Based on those newly-raised challenges to the patentability and
 12               validity of the ’920 and ’038 patents, Applicants submits the attached
 13               Information Disclosure Statement and requests consideration of the
 14               newly-cited references pursuant to the Quick Pack Information
 15               Disclosure Statement pilot program. (Exhibit B, Applicant’s Jan. 22
 16               letter to the PTO, at 1)
 17           315. Applicants disclosed the petition for Inter Partes review of the ’038
 18   and ’920 patents on January 22, 2016 to the Patent Office but not the declarations
 19   or exhibits. (Exhibit A, Applicant’s Jan. 22 IDS, at 1.)
 20           316. Applicants failed to disclose any part of the petition for Inter Partes
 21   review of the ’034 patent that was filed almost one month prior to the filings of the
 22   ’920 and ’038 IPR petitions.
 23           317. The ’034 Petition of Inter Partes Review is material because but-for
 24   the withheld information the Patent Office would not have allowed one or more
 25   claims of the ’792 patent because the examiner would have considered the
 26   arguments made in the petition important to the ultimate patentability of the
 27   asserted claims of ’792 patent.
 28
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  1           318. As stated above, the ’034 patent is in the same family as the ’792
  2   patent, relate to the same technical field, and share substantial overlap in their
  3   disclosure.
  4           319. The ’034 IPR concerns the same withheld references discussed above
  5   in paragraph 260, and for the same reasons set forth in paragraphs 259-282, the
  6   references are “but-for material.”
  7           320. Applicants knew the withheld material was relevant to the Asserted
  8   Claims and knew the withheld material would have rendered the claims invalid
  9   and unenforceable.
 10           321. Applicants intended to deceive the Patent Office by systematically
 11   withholding or obfuscating the relevance of the known related litigation.
 12           322. The Applicants had strong motivations to deceive the Patent Office,
 13   as they were gearing up to file a second lawsuit against Twilio.
 14           323. The Applicants failure to disclose the withheld material constitutes a
 15   breach of the duty of candor and good faith required by 37 C.F.R. § 1.56—with
 16   the intent to deceive the Examiner.
 17     Applicants Misrepresentations Through Omission to Accelerate Allowance
 18           324.    Applicants were in a hurry to obtain the ’792 patent.
 19           325. TeleSign I had already been filed and TeleSign was eager to assert
 20   additional patents against Twilio.
 21           326. Applicants filed the ’792 patent through the TrackOne Request.
 22   (Exhibit C, TrackOne Request)
 23           327. The Patent Office states that filing an application under the TrackOne
 24   Request offers an application “special status with fewer requirements than the
 25   current accelerated examination program and without having to perform a pre-
 26   examination search.”
 27           328. Applicants paid a fee to prioritize the speed at which their application
 28   would be prosecuted through the TrackOne Request.
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  1           329. Because Applicants were in a hurry to obtain the ’792 patent,
  2   Applicants were incentivized to make misrepresentations through omissions to the
  3   Patent Office.
  4           330. Applicants omitted all references to the related ’034 IPR and ’034
  5   District Court litigation. (See ¶¶259-305)
  6           331. Applicants omitted Dr. Shamos’s expert declarations in the ’034,
  7   ’920, and ’038 IPRs and the District Court litigation. (See ¶¶219-258)
  8           332. In addition to filing under the TrackOne Request, Applicants also
  9   took advantage of the Quick Path Information Disclosure Statement (QPIDS) to
 10   further accelerate obtaining the ’792 patent.
 11           333. The Patent Office states that “[t]he Quick Path Information
 12   Disclosure Statement (QPIDS) pilot program is part of the USPTO's on-going
 13   efforts towards compact prosecution and pendency reduction.”
 14           334. Applicants filed an IDS under the QPIDS program on January 22,
 15   2016, waiting until after the notice of allowance.
 16           335. Applicants January 22, 2016 QPIDS contained some, but not all, of
 17   the information known to the Applicants. (Exhibit A, Applicant’s Jan. 22 IDS.)
 18           336. Applicants were required to make and did make a certification that
 19   none of the information contained in its January 22, 2016 IDS was known to the
 20   Applicants “more than three months prior to the filing of the information
 21   disclosure statement.” (Exhibit A, Applicant’s Jan. 22 IDS.)
 22           337. But applicants were aware of material information at least by
 23   September 2015, which is roughly six months prior to Applicants filing of the
 24   January 22, 2016 IDS.
 25           338. Six months is outside the three month window provided by the
 26   certification. Had Applicants disclosed all the known prior art, Applicants would
 27   have been required to re-open prosecution of the ’792 patent.
 28
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  1           339. Because the Applicants were in a hurry to obtain the ’792 patent, in
  2   order to be in “compliance” with the certification made the Applicants, the
  3   Applicants (i) only listed the information in the IDS that the Applicants had
  4   become aware of in the past three months, (ii) excluded information from the IDS
  5   that the Applicants had knowledge of prior to the three month period, and (iii)
  6   excluded materially relevant information from the IDS that the Applicants had
  7   become aware of within the past three months.
  8           340. Applicants misrepresented relevant material information to the Patent
  9   Office through their omissions.
 10           341. The misrepresentation through Applicants omissions to the Patent
 11   Office is “but-for material” because the Patent Office would not have allowed one
 12   or more claims of the ’792 patent at the speed at which they did had it not been for
 13   Applications omissions to the Patent Office.
 14           342. Applicants should have pulled its applications from allowance to
 15   reopen prosecution and disclose all of the material information that was known to
 16   the Applicants.
 17           343. Instead, Applicants were in a rush to obtain an allowance and
 18   breached of the duty of candor and good faith required by 37 C.F.R. § 1.56—with
 19   the intent to deceive the Examiner through Applicants misrepresentations to the
 20   Patent Office.
 21                           SEVENTH AFFIRMATIVE DEFENSE
 22                                  (EQUITABLE DEFENSES)
 23           344. TeleSign is barred or limited from recovery in whole or in part by the
 24   doctrines of waiver, estoppel, acquiescence, and/or unclean hands.
 25                                 RESERVATION OF RIGHTS
 26           345. Twilio reserves all other affirmative defenses pursuant to Rule 8(c) of
 27   the Federal Rules of Civil Procedure, the patent laws of the United States, and any
 28   other defenses, at law or in equity, that now exist or in the future may be available
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  1   based on discovery and further investigation in this case.
  2                             TWILIO’S PRAYER FOR RELIEF
  3           Wherefore, Twilio respectfully requests that the Court enter judgment in
  4   Twilio’s favor by granting the following relief:
  5           A.     Dismissing TeleSign’s First Amended Complaint for Patent
  6   Infringement against Twilio in its entirety, with prejudice;
  7           B.     Declaring that Twilio has not directly infringed any claim in the ’792
  8   patent.
  9           C.     Declaring that Twilio has not indirectly infringed any claim in the
 10   ’792 patent;
 11           D.     Declaring that Twilio and Twilio’s customers have not infringed any
 12   claim in the ’792 patent;
 13           E.     Declaring that Twilio has not willfully infringed any claim in the ’792
 14   patent;
 15           F.     Declaring that all asserted claims of the ’792 patent are invalid and/or
 16   unenforceable;
 17           G.     Denying TeleSign any and all relief;
 18           H.     Declaring that this is an exceptional case under 35 U.S.C. § 285, and
 19   awarding Twilio costs, attorneys’ fees, and expenses; and
 20           I.     Awarding Twilio such other and further relief as the Court may deem
 21   just and proper.
 22
 23   Dated: November 21, 2016                    Respectfully submitted,
 24                                               BAKER BOTTS L.L.P.
 25                                               /s/ Sarah J. Guske
 26                                               Sarah J. Guske
                                                  Attorney for Defendant
 27                                               TWILIO, INC.
 28
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